         Case 24-03056 Document 8 Filed in TXSB on 06/07/24 Page 1 of 1
                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                               June 07, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                          §
                                §                      CASE NO: 24-30885
JOANNA BURKE,                   §
                                §                      CHAPTER 13
      Debtor.                   §
                                §
JOANNA BURKE,                   §
                                §
      Plaintiff,                §
                                §
VS.                             §                      ADVERSARY NO. 24-3056
                                §
DEUTSCHE BANK NATIONAL TRUST    §
COMPANY, PHH MORTGAGE           §
CORPORATION, AVT TITLE SERVICES §
LLC, AND DOES 1-10,             §
                                §
      Defendants.               §

               ORDER DENYING MOTION FOR DEFAULT JUDGMENT

       This matter is before the Court on the Motion for Default Judgment (ECF No. 6) filed by
the Plaintiff. On June 4, 2024, the Court entered an order dismissing this adversary (ECF No. 4).
As such, the instant motion is moot.
       THEREFORE, IT IS ORDERED that the Motion for Default Judgment (ECF No. 6) is
denied as moot.
         SIGNED 06/07/2024


                                                   ___________________________________
                                                   Jeffrey Norman
                                                   United States Bankruptcy Judge




1/1
